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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                       Greenbelt Division

In re:                                            *       Chapter 13

KYONGSIK JUN AND MINSOO HA                        *       Case Nos. 23-13312

                                                  *
          Debtors.
                                                  *

*         *         *       *      *       *      *        *       *       *       *        *    *

         MOTION FOR AUTHORITY TO INCUR SECURED DEBT FOR THE PURPOSE OF
              MODIFYING THE TERMS OF AN EXISTING SECURED LOAN ON
              REAL PROPERTY AND NOTICE OF OPPORTUNITY TO OBJECT

          COMES NOW, KYONGSIK JUN, and MINSOO HA (“Movant”), through their counsel,
Christopher R. Wampler, Esquire and Wampler 7 Sounder, LLC files this motion to approve a loan
modification agreement (the “Loan Modification”) for the purpose of modifying the terms of an existing
secured loan for real property (the “Motion”), and submits the following information regarding the
modified loan:
         1.      The address of the real property is 10282 Arizona Circle, #64, Bethesda, Maryland 20817
(the “Property”).
         2.      The holder of the secured claim is CitiBank, N.A. C/O Cenlar FSB.
         3.      The amount of the proposed modified secured claim is $_$94.307.96__.
         4.      A copy of the proposed Loan Modification is attached hereto. This amount does _√ _ or
does not _ (check one) include the pre-petition arrears currently being paid through the plan.
         5.      The monthly amount of the modified secured claim payment is $424.15, of which
$________424.15_________ is principal and interest. This amount does not include real estate taxes and
hazard insurance to be escrowed by the holder of the modified secured claim. The monthly escrow
amount is $_____0______ (subject to periodic adjustments in accordance with applicable law).
         6.      INTEREST TERMS:
                 A.        The new maturity date is _____08/01/2046_______________.
                 B.        Adjustable Rate Loan for:
                                  60 months @ 2.00% from 07/01/2023 to 06/30/2028
                                  12 months @ 3.00% from 07/01/2028 to 06/30/2029
                                  07/01/2029 to 08/01/2046 @ 3.25%
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       7.       The loan modification __ does or _√ _ does not modify the terms of the confirmed plan
in the case. If the loan modification does affect the terms of the confirmed plan in the case, the Debtor
will separately file a motion to modify the confirmed plan. This motion does not constitute a motion to
modify the confirmed plan. The Debtor hereby acknowledges that the terms of the confirmed plan remain
in effect until such time as any plan modification is approved by the Court.
       8.       The Loan Modification will not alter or affect the status or priority of any other existing
liens on the Property.
       9.       The Debtors have advised the holder of the modified secured claim that it must either file
an amended proof of claim or withdraw the filed proof of claim within 30 days of the closing of the loan
modification transaction.
       10.      See attached loan modification (See “Exhibit A”)
    WHEREFORE, the Debtors submit that this loan modification is in the best interest of the Debtors
and Creditors and as it will increase the feasibility of the reorganization and should be approved.
 Dated: ___08/17/2023_______________


                                                                     Respectfully Submitted,


                                                                     /s/ Christopher R. Wampler
                                                                     Christopher R. Wampler
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